                   Case 8:16-cv-00018-GJH Document 1 Filed 01/05/16 Page 1 of 5



                                        IN THE UNITED STATES [)ISTRICT COURT
                                            FOR THE DISTRICT OF MARYLAND
                                                                                                      Fillil          ENWIal
                                                                                              ::::::::LOIlGED-CP---'RECBVED
Sand ('~ Den<'sv Moan                           Il. rC,-    ~; rh 1 *
                                                                                                      JAN - 5 2016
 P.O,    60)(      'i ~65 J...
                                                                                                        AT GREENBELT
                                                                                                  CLERK U.S DISTRICT COURT
                                                                                                    DISTRICT OF MARVL~ND
 washn1~                    ,1::>L          2000           z.-           *                   BV                          CJi~lJTy

(Full name and address of/he plain/iff)
                               Plaintiff(s)

                              vs,                                        *      Civil No.:   GJH 16 CV
                                                                                (Lem'e h/ank. To befilled in by Cour/.)
 Eh- , B.e.-+"i'h CI],<. y                      )   eJ I   0....'

   1+0 \ '1        (-YO S          S      \+0 So    e +C(.l
                                                      I
                                                                         *
               I

 I S:-OO        FUY"6+             G-l.e.nl'"       R.o~cf

 $ ,I ye,yo        Sf''''   I '"   '1, N\.d            20'110            *
 301 ,5'4- 1000
(Full name and address (!f/he dejimdan/(,))
                                         Defendant(s)                    *
                                                                      ******
                                                                    COMPLAINT

          I,        Jurisdiction        in this case is based on:

                    o          Diversity (none of the defendants are residents of the state where plaintiff is a
                               resident)

                               Federal question (suit is based upon a federal statute or provision of the United
                               States Constitution)

                    o          Other (explain)                                                                   _




Complaint (Rev. 12120(0)
                  Case 8:16-cv-00018-GJH Document 1 Filed 01/05/16 Page 2 of 5



          2.        The facts of this case are:

                           ~e-c-       A-tt-achW"l-ent




Complaint (Rev. 12/2000)                          2
                  Case 8:16-cv-00018-GJH Document 1 Filed 01/05/16 Page 3 of 5



          3.        The relief I want the court to order is:

         D           Damages in the amount of:                                                                  _

         D           An injunction ordering:                                                                        _




         D           Other (explain)                                                                            _




                                                                          (Signature)

                                                               S Clncl.,.-o...    j).     M tV,   Yl'   "'1 - 1("'--'1
                                                                P.O. r;,0l              ~ ~ 5'S")...
                                                                 Wash         I "1~            'D L     L.e> 0 O-J-

                                                                d.-O;}.      - d- tf    (,,-   (Ot        (0
                                                               (Printed name. address and phone number of
                                                                Plaintiff)




                               Privacy Rules and .Judicial Conference            Privacy Policy

Under the E-Govemment Act and Judicial Conference policy. any paper filed with the court should not
contain an individual's social security number, full birth date, or home addrcss: the full name of person
known to be a minor; or a complete financial account number. These rules address the privacy concerns
resulting from public access to electronic case tiles.




Complaint (Rev. 1212000)                               3
                  Case 8:16-cv-00018-GJH Document 1 Filed 01/05/16 Page 4 of 5

                                                                                                    'J .. ).
                                                                                                   J!ST\t~ ,
                                       United States District Court of Maryland

                                                  Southern Division
                                                                                                                        ,
                                                                                                                           '.-v':
                                                 Greenbelt Maryland                                                      ~:U
                                                                                                         __~             _.f';:PUTY

Sandra D. Manning-Kirby

                         Plaintiff                                       GJH 16 CV 0 0 1 8
             Vs                                                    Re:      Charles Leon Kirby

Dr. Betaphour, et.al ..,                                                 July 8, 1948- January 6, 2013

Holy Cross Hospital

Silver Spring, Maryland

                            Defendant

                     Complaint:      Set forth TB/ Amended by Attorney of Law: State of Maryland

Pursuant to Laws of Medical Negligence, Medical Mistakes, Medical Malpractice                    and Wrongful Death, in
the State of Maryland;        Statutes administered       in and set forth in the state of Maryland.      This document
filed not limited to and inclusive of statutes S-2A-01; S3-2A-04; 53-904, in the state of Maryland.                    The
Petitioner admits within this document, Several Standards of the Doctoral persons Medical Professions
omission of and Standard of Care was omitted,              ignored and did not exist at HC Hospital which was set
forth   and activated to do so.

That on Sunday, December 23,2012,                her husband Charles L. Kirby, was admitted to Holy Cross Hospital
under and from the direction of Kaiser Permanente                 Emergency Room Doctors of The Lanham Medical
Center ,Upper Marlboro,           Maryland.

During this -13 day hospitalization           Charles L. Kirby   did receive two surgical procedures       advised
administered        and performed     by Kaiser Permanente Doctors. Two procedures were performed,
Wednesday December 26, 2012 and Friday December 28, 2012. Saturday December 29, 2012, Charles
Kirby was talking, coherent audibly visibly and vocally expressive responded to comprehensive                        of and
received the Kaiser Permanente Doctor outpatient                 recovery follow up care upon his release early the
upcoming week.

This document will prove that Sunday December 30 2012 Holy Cross Doctors placed him in a coma to
awaken him upon some rest. No doctor was visible and or present to my knowledge.                       December 31
2012 Monday           Within 12 hours. This female HC doctors said" it did not look good for him."              I only saw
this doctor once.        Kaiser Permanente        Surgeon had come in to conclude out his procedure late that
afternoon.        I told him of that hospital doctors coma placing and outlook reCOvery. he wondered what
            Case 8:16-cv-00018-GJH Document 1 Filed 01/05/16 Page 5 of 5



could the problem be       his procedure was successful. within 48 hours, January 2,2013, he'd stopped
physical movements and suggestive response to me .

January 1, 2013, I was advised by a nurse to stop talking to him because he knew my voice and
responded physically to me because he wanted to talk with me. However upon his admittance              into
intensive recovery care after the last surgical procedure care the administrative     nurse advised me to talk
with my husband that it proved beneficial to another intensive care male patient,        who admitted that he
could hear his wife's voice expediting his recovery.     Saturday January 5,2013 he'd received two
administrations    of Kidney dialysis, two days prior, the Kaiser Permanente doctor was impatient,         insulting
and cruel   with her explanations as of what determined      this medical procedure of dialysis for my
husband.

Sunday January 6, 2013, early night, 9:00 p.m. I received a call from HC doctor telling me he'd suffered a
heart attack, was alive, it would possibly happen again and there was no need to rush to the hospital.
speed to HC hospital as quick as possible upon my arrival within the half hour he'd been pronounced
dead. I requested of a male nurse to speak with the doctor.       This HC doctor is the same man who
telephone me within the last hour of" this heart attack" and not to rush to the hospital.

This doctor was called on the telephone,     his name was Dr. Betapour, I asked him, "could you explain to
me what happen to my husband, I need to know the medical reasoning's for his death he was to come
home in full recovery days ago."      His response was," there was no explanations for these things they
just happen, how do you explain this. " I stated"    someone    has to tell me something".    He said, "he was
busy visiting with his other patients on the third floor, he did not have time.    I could talk with the
doctors in the morning. "

My husband of 18 years just passed       it had not been one hour. He was still warm in the room.

March 2013, I went to HC Hospital to request his medical records. Given a basic form to complete, the
person in the records office there was initiating the procedure, then she inquired if he'd passed away.
She then informed me I needed the" death certificate"       to recover those medical records. Medical
records should be available usually with a fee per page whether dead, paralyzed, recovered, intensive
care, outpatient   inpatient.

The facts, events, doctoral care, nurses care, medicines used, utensils used, medical environment,
services rendered, HC hospital rooms environment,        from his physical bodies entrance ,into, during and
while being professional medically cared for did render several omissions of the standard quality of care
for the State of Maryland's     Medical professional Board of Certification   for the care of a human being
while hospitalized for medical treatment .. and while at HC Hospital in Silver Spring Maryland impeded
the expiration of my husband Charles Leon Kirby.




                                                    )cJ;
